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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:19-CR-00153-DAD-BAM
12                                 Plaintiff,           STIPULATION TO CONTINUE HEARING ON
                                                        MOTION FOR BAIL REVIEW; ORDER
13                           v.
                                                        DATE: April 29, 2020
14   RANDOLPH PICCHI,                                   TIME: 2:00 p.m.
                                                        COURT: Hon. Stanley A. Boone
15                                Defendant.
16

17                                               STIPULATION

18            On April 22, 2020, defendant Randolph Picchi filed a Motion for Bail Review (Dkt. 55). The

19 hearing on the Motion for Bail Review is currently scheduled for April 29, 2020. Counsel for Picchi has

20 been exploring additional information for a possible release plan for Picchi and requires additional time
21 to continue to investigate these options. The parties therefore stipulate to continue the hearing on the

22 motion for bail review to Friday, May 1, 2020, at 2:00 p.m. before the Honorable Stanley A. Boone.

23 IT IS SO ORDERED.

24
     Dated:     April 28, 2020
25                                                     UNITED STATES MAGISTRATE JUDGE

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 1        IT IS SO STIPULATED.

 2

 3
     Dated: April 28, 2020                      MCGREGOR W. SCOTT
 4                                              United States Attorney
 5
                                                /s/ ROSS PEARSON
 6                                              ROSS PEARSON
                                                Assistant United States Attorney
 7

 8
     Dated: April 28, 2020                      /s/ JOHN F. GARLAND
 9                                              JOHN F. GARLAND
10                                              Counsel for Defendant
                                                RANDOLPH PICCHI
11                                              (Authorized by email on April
                                                28, 2020)
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13
                                  ORDER
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